





Cornelison v. Newbury                                               
















IN THE
TENTH COURT OF APPEALS
                       

No. 10-96-111-CV

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENNIS CORNELISON, ET UX.,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;v.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RANA ZOE NEWBURY,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee
                                 

From the 249th District Court
Johnson County, Texas
Trial Court # 5664-95
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

O P I N I O N
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This is an appeal from the granting of a motion for summary judgment.  In their sole point
of error, Dennis and Diane Cornelison, the appellants and the prospective adoptive parents,
contend the trial court erred in granting summary judgment in favor of Rana Newbury, the
biological mother.  They contend a genuine issue of material fact exists as to whether Ms.
Newbury voluntarily left her child with another not the child's parent and expressed an intent not
to return when she arranged for the Cornelisons to adopt her newborn child and allowed the
Cornelisons to name the child and take him home with them. Tex. R. Civ. P. 166a(c); Tex. Fam.
Code Ann. § 161.001(1)(A) (Vernon 1996).  
RELEVANT FACTS
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To a certain point, the facts of this case are undisputed: The Cornelisons met Ms. Newbury
for the first time in July 1995 at a mutual friend's home.  At this meeting, Ms. Newbury told Mrs.
Cornelison that she was going to place her unborn child up for adoption and that a prior adoption
arrangement had not come to fruition.  Ms. Newbury ask Mrs. Cornelison if she and her husband
would be interested in adopting the child.  After several days of consideration, the Cornelisons
agreed to adopt Ms. Newbury's child but sought assurance from Ms. Newbury that she was certain
of her decision and that she would not later change her mind.  Receiving assurance from Ms.
Newbury, the Cornelisons hired an attorney to complete the adoption.  In addition to cooperating
with the Cornelison's attorney herself, Ms. Newbury also assisted the Cornelisons in obtaining
the consent of the child's father, James George.  Mr. George signed a Waiver of Interest in the
Child pursuant to Tex. Fam. Code Ann. § 161.106 (Vernon 1996).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Ms. Newbury gave birth to a male child on September 7, 1995.  That afternoon, with the
consent of Ms. Newbury, the Cornelisons were named temporary joint managing conservators of
the child.   The Cornelisons named the child, made the decision to have him circumcised, and the
day after the child was born, the Cornelisons took the child to their home in Joshua, Texas.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Different versions of the facts develop from this point with the exception that both the
Cornelisons and Ms. Newbury agree that Ms. Newbury never signed an affidavit relinquishing
her parental rights to the child.  According to Ms. Newbury, she regretted her decision "almost
immediately" and wanted her child back, a fact she conveyed to the Cornelisons within two weeks
of the birth of the child.  The Cornelisons maintain that Ms. Newbury did not indicate that she had
changed her mind until October 16, 1995, almost six weeks after the child's birth.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Cornelisons filed their original petition for termination and adoption of the child on
October 26, 1995.  On November 8, 1995, James George, the biological father, filed a plea in
intervention requesting the Cornelisons be allowed to adopt the child or, in the alternative, that
he be named sole managing conservator.  Ms. Newbury filed her answer, contesting the
termination of her parental rights and adoption on November 15, 1995, and her motion for
summary judgment was granted by the trial court on February 19, 1996.
STANDARD OF REVIEW
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In order to involuntarily terminate someone's parental rights, the trial court must find: (1)
a statutory violation and (2) that the termination is in the best interest of the child.  Tex. Fam.
Code Ann. § 161.001 (Vernon 1996).  The legislature has enumerated fourteen instances in which
parental rights may be involuntarily terminated.  Id.  In this case, only one of those situations is
relevant.  Section 161.001(1)(A) allows for the involuntary termination of parental rights if the
court finds by clear and convincing evidence that "the parent has voluntarily left the child alone
or in the possession of another not the parent and expressed an intent not to return."  Id. §
161.001(1)(A).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To prevail on a motion for summary judgment, the movant has the burden of establishing
that there is no genuine issue of material fact and that the movant is entitled to judgment as a
matter of law.  Tex. R. Civ. P. 166a(c); Cathey v. Booth, 900 S.W.2d 339, 341 (Tex. 1995);
Allen v. City of Midlothian, 927 S.W.2d 316, 319 (Tex. App.—Waco 1996, no writ).  In
reviewing a motion for summary judgment, we must accept as true evidence in the nonmovant's
favor, indulging every reasonable inference and resolving all doubts in favor of the nonmovant. 
Nixon v. Mr. Property Management Co., 690 S.W.2d 546, 548-49 (Tex. 1985).
SUMMARY JUDGMENT EVIDENCE 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The issue we address is whether the summary judgment evidence presented to the trial
court demonstrated, as a matter of law, that Ms. Newbury did not voluntarily leave her child with
another not the child's parent and express an intent not to return.  If it did, the trial court acted
properly in granting the summary judgment in favor of Ms. Newbury. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The only evidence in support of Ms. Newbury's motion for summary judgment was her
own affidavit stating that she changed her mind "almost immediately" and that, within two weeks
after the child's birth, she told the Cornelisons she wanted the child back.  However, there is
evidence contradicting Ms. Newbury's affidavit.  In their response to Ms. Newbury's motion for
summary judgment, the Cornelisons attached Mrs. Cornelison's affidavit which stated that Ms.
Newbury never made any effort to see the child on her own, never sent any gifts to the child,
never sent any money to the Cornelisons for the child's care, and never asked about the child's
well-being.  According to Mrs. Cornelison's affidavit, the first time Ms. Newbury indicated that
she wanted her child back was on October 16, 1995, almost six weeks after the child's birth.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The only time an interested witness' testimony may be considered adequate summary
judgment evidence is when it is: (1) uncontroverted; (2) clear, positive, and direct; (3) otherwise
credible and free from contradictions and inconsistencies, and (4) could have been readily
controverted.  Tex. R. Civ. P. 166a(c); Casso v. Brand, 776 S.W.2d 556, 558 (Tex. 1989).  A
statement of an interested party, testifying as to what he intended, is self-serving, does not meet
the standards for summary judgment proof, and will not support a motion for summary judgment. 
See Valley Stockyards Co. v. Kinsel, 369 S.W.2d 19, 20 (Tex. 1963); Clark v. Pruett, 820 S.W.2d
903, 906 (Tex. App.—Houston [1st Dist.] 1991, no writ).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because we must accept all evidence in the nonmovant's favor as true, we find that there
was a genuine issue of material fact as to whether Ms. Newbury voluntarily left her child with the
Cornelisons and expressed an intent not to return.
SWINNEY V. MOSHER
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Ms. Newbury relies on the case of Swinney v. Mosher to support the contention that she
did not voluntarily leave her child with the Cornelisons, expressing an intent not to return, and
was therefore entitled to judgment as a matter of law.  830 S.W.2d 187 (Tex. App.—Fort Worth
1992, writ denied).  In Swinney, the court held that, in order for the biological mother's actions
to fall within the purview of section 161.001(1)(A), the mother would have to abandon her child
or take such willful action "as would imply a conscious disregard or indifference to such child in
respect to the parental obligation that the parent owes to the child."  Id. at 193.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Without addressing the merits of the Swinney decision, we find the facts of the case at bar
distinguishable.


  In Swinney, the biological mother arranged, prior to the birth of the child, to
give her child up for adoption.  Id. at 190.  After the child's birth, the biological mother signed
an affidavit relinquishing her parental rights to the child and gave the child to the adoptive parents
to take home.  Id.  The day after the child was born, the biological mother contacted the adoptive
parents and told them she had changed her mind and wanted her child back.  Id.  When the
adoptive parents refused to give the child back to the biological mother, she took legal action to
have her child returned.  Id.  She revoked her affidavit of relinquishment of parental rights after
the prescribed period.  Id. at 191.  She also attended every hearing regarding the child and visited
the child when permitted to do so.  Id. at 190.  In light of these facts, the Fort Worth Court of
Appeals held that the actions taken by the biological mother in arranging for the adoption of her
newborn baby and allowing the prospective adoptive parents to take the child home could not be
construed as voluntarily leaving the child in the possession of another not the parent and
expressing an intent not to return because there was no evidence of abandonment.  Id. at 193-94.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, we are presented with evidence that Ms. Newbury did not take any initiative to see
the child after he went home with the Cornelisons, that she did not send any gifts to the child or
any money to the Cornelisons to help defray the expense of caring for the child, and that she did
not ever inquire about the child's well-being.  Even assuming, arguendo, that Ms. Newbury
changed her mind "almost immediately" about giving her child up for adoption, her actions
thereafter are inconsistent with that assertion, whereas the biological mother in Swinney acted upon
her changed mindset immediately.  Therefore, because Swinney is distinguishable from the present
case, Ms. Newbury's reliance on it in support of her contention that she was entitled to judgment
as a matter of law is misplaced.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For the reasons set forth above, the trial court's order granting summary judgment in favor
of Ms. Newbury is reversed and the cause remanded for a trial on the merits.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;BOBBY L. CUMMINGS
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Before Chief Justice Davis,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Cummings, and
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Vance
Reversed and remanded
Opinion delivered and filed October 25, 1996
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on and title issues. 
Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The courts in Ramirez and Haith, respectively, also rejected arguments that the county court
exceeded its jurisdiction in forcible detainer actions.  In Ramirez, the deed actually provided that
the owners became tenants at sufferance following foreclosure and subjected the owners to a
forcible detainer action.  See Ramirez, 600 S.W.2d at 912.  Similarly, in Haith the contract for
sale provided for a landlord-tenant relationship if the buyer breached the contract.  See Haith, 596
S.W.2d at 197.  With the landlord-tenant relationship established under the contract, the fact that
it may be necessary to introduce evidence of title in order to prove the landlord-tenant relationship
did not deprive the county court of jurisdiction because the validity of the title was not an issue. 
Id.
Analysis
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We find that the justice court and county court at law lacked jurisdiction in this case.  First,
we find specific evidence of a title dispute raised in the Aguilar’s counter-claim.  See Mitchell, 911
S.W.2d at 169; see also Falcon v. Ensignia, 976 S.W.2d 336, 338 (Tex. App.—Corpus Christi
1998, no pet.).  The counter-claim disputed the alleged default and challenged the right to
possession under the contract.  The Aguilars asserted that non-payment was due to the Webers
failure to execute the warranty deed as required under the contract.  Therefore, determining the
right of possession necessarily involved a title inquiry into the contract to purchase land, unless
the contract created a landlord-tenant relationship or other independent basis for determining
possession upon default.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We agree that a forcible detainer action must be based on a landlord-tenant relationship.  See
Rice, 51 S.W.3d at 712 (citations omitted).  Here, the parties’ contract did not provide for a
landlord-tenant relationship in the event of default.  See Mitchell, 911 S.W.2d at 169; Haith, 596
S.W.2d at 197.  The contract also did not provide that the Aguilars would become tenants at
sufferance or subject to a forcible detainer action upon default.  See Rice, 51 S.W.3d at 711. 
Because the justice court and county court at law would be required to determine the issue of title
to resolve the right to immediate possession, we conclude they lacked jurisdiction in this case. 
See Guyer v. Rose, 601 S.W.2d 205, 207 (Tex. Civ. App.—Dallas 1980, writ ref’d n.r.e.) (right
to possession depended on contract for sale); Rodriguez, 484 S.W.2d at 593 (justice court
judgment void when possession depended on construction of real estate “purchase-sale contract”);
Ravkind, 313 S.W.2d at 125 (no jurisdiction when right to possession depended on compliance
with “contract to purchase”).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This Court notes that the Webers contend that the Aguilars defaulted and the contract was
terminated.  However, because no landlord-tenant relationship was set forth in the contract, and
the Aguilars contested the default issue related to possession, the county court at law
impermissibly exceeded its jurisdiction by interpreting title under the contract in order to
determine possession.  While the letters of eviction may have indicated that the Aguilars lost their
“right, title, interest, or claim” in the property, the contract does not set forth the same provisions. 
The letter of eviction is not evidence of the parties’ agreement.  Thus, we do not find this case
involves merely a right to immediate possession.  Rather, this case involves a right to possession
dependent on the contract for deed, and thus, the justice court and county court at law lack
jurisdiction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having found the lower courts lack jurisdiction, we need not address the merits of this appeal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss this cause for want of jurisdiction, therefore dissolving any writ of possession
issued.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;REX D. DAVIS
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice
Before Chief Justice Davis,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Vance, and
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Gray
Appeal dismissed for want of jurisdiction
Opinion delivered and filed March 6, 2002
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[CV06]


